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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LONTEX CORPORATION,                                CIVIL ACTION

        v.                                         NO. 18-5623

NIKE, INC.


                    ORDER RE: CROSS-MOTIONS FOR DISCOVERY

       AND NOW, this 20th day of September, 2019, during an unrecorded telephone conference

with counsel this date concerning cross-motions on discovery issues, the Court did not make any

substantive ruling, but discussed the various issues and scheduling with counsel, and as a result,

ORDERS as follows:

       1.      Counsel shall continue their meet and confer obligation on all issues raised by these

motions and attempt to complete these discussions within fourteen (14) days.

       2.      If either party wishes to take a Rule 30(b)(6) deposition on the topic of document

production relating to searches, custodians, search terms, etc., they should do so promptly, if

possible, within the next fourteen (14) days.

       3.      As to any issues as to whether either party has produced all of the documents

requested, without regard to objections, if the parties cannot resolve this issue, the Court may

appoint a Master to investigate and prepare and Report and Recommendation on this issue.

       4.      Following further discussions between counsel and any Rule 30(b)(6) deposition,

counsel shall file responses to the opposing party’s motion to compel. This should take place not

more than thirty (30) days from today’s date.
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         5.       Next week, the Court will schedule a hearing on these motions. At least two days

prior to the hearing, counsel must submit to Chambers a short (three page maximum) summary of

the still outstanding discovery disputes.


                                                               BY THE COURT:


                                                               /s/ Michael M. Baylson
                                                               MICHAEL M. BAYLSON, U.S.D.J.




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